     Case 5:20-cv-01359-JLS-SHK Document 11 Filed 11/01/21 Page 1 of 13 Page ID #:93


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  FULL NAME


  COMMITTED NAME (if different)                                                                                   NnV - ~ ~ozi
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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER

                                                                                               To be supplied by tl:e Clerk
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                                                   PLAINTIFF,
                                   ~~                                         CIVIL RIGHTS COMPLAINT
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    CIT'D ~l ~~1~,(,~ ; 5~(, f✓~ ,            DEFENDANT(S). ~
                                                              42 U.S.C. § 1983
                                                            ❑ Bivens v. Six Unknown Agents 403 U.S. 388(1971)

  A. PREVIOUS LAWSUITS

      1. Have you brought any other lawsuits in a federal court while a prisoner: ~l;Yes            ❑ No

     2. If your answer to "1." is yes, how many?

           Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
           attached piece of paper using the same outline.)

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                                                    CIVIL RIGHTS COMPLAINT
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         a. Parties to this previous lawsuit:
            Plaintiff         ~~ ~,~ ~/V~~i~i- ~d~,~~. •i~


               Defendants     ~I~~ ~ cJ~'~~ ~ rk   ~~~i/~~ - ~~ (i~~~ C~~~


         b. co,~          ~~,i~~^~ 1~t~~ ~ ~ ~f J~ ~ 1M ~ ~uY~ Vt 1 l'~ , 1,~. ~)► ST • ~,~~'-1.

         c. Docket or case number            ~~
         d. Name of judge to whom case was assigned              ~ ~' ~'1ri I•Y   1~~~~~~        L
         e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
               appealed? Is it still pending?)     pl ~~r~n~ ~ ~~~~           I ~t'~ ~- ~    ~~ ~~ ~ ~, ~~VV1~'1~
         f. Issues raised: __ __~l~~11 ~,~~ ~ ~~'        ~~~         ~~~~'~~1/U'~l ,        ~ ~ti 1' ~~ ~i~j




         g. Approximate date of filing lawsuit:                 n~
                                                             ~~✓ ~
         h. Approximate date of disposition                  ~~~ ~


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

     1. Is there a grievance procedure available at the institution where the events relating to your current complaint
        occurred?      Yes ❑ No

    2. Have you filed a grievance concerning the facts relating to your current complaint?                   Yes      ❑ No

         If your answer is no, explain why not




    3. Is the grievance procedure completed?           Yes     ❑ No

         If your answer is no, explain why not



    4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

    This complaint alleges that the civil rights of plaintiff         ~~'~~~~I~— ~~~',~L ~ l'~
                                                                                            (print plaintiffs name)

    who presently resides at       I (~ 1 ~U l~ V'1 ~ kY ~ Ui5'> I ~Yy'~~~15
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     were violated by the actions of the defendants) named below, which actions were directed against plaintiff at
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    on (date or dates)      ~ ~' L ~~'~ ~;
                                         I ~ ~'~ ~'~                               ,
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    NOTE:       You need not name more than one defendant or allege more than one claim. If you are naming more than
                five(5)defendants, make a copy ofthis page to provide the information for additional defendants.

    1. Defendant         Q ~~%     ~~ ~~~' ~~ ~~'~                ~~~~j,'~                          resides ar works at


                   (full address of first defendant)


                   (defendant's position and title, i any)


        The defendant is sued in his/her(Check one or both): ❑individual         ❑official capacity.

        Explain how this defendant was acting under color of law:




    2. Defendant                                                                                    resides or works at
                   ( 1 name o first de en ant)


                   (full address of first defendant)


                   (de endant's position and title, if any)


        The defendant is sued in his/her(Check one or both): ❑individual         ❑official capacity.

        Explain how this defendant was acting under color of law:




    3. Defendant                                                                                    resides or works at
                   ( 1 name o first e en ant


                   (full address of first defendant)


                   ( e endant's position and title, if any)


        The defendant is sued in his/her(Check one or both): ❑individual         ❑official capacity.

        Explain how this defendant was acting under color of law:




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     4. Defendant            ~~ ~~/~~3 ~       ~~ ~~~~                                             resides or works at
                          name


                    (full address of first defendant)


                    ( e endant's position and trt e, i any)


         The defendant is sued in his/her(Check one or both): ❑individual        ❑official capacity.

         Explain how this defendant was acting under color oflaw:




    5. Defendant                                                                                   resides or works at
                    (full name of first defendant)


                    (full address of first defendant)


                    (de endant's position and title, i any)


         The defendant is sued in his/her(Check one or both): ❑individual        ❑official capacity.

         Explain how this defendant was acting under color of law:




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D. CLAIMS*
                                                         CLAIM I
    The following civil right has been violated:




    Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
    citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
    DEFENDANT (by name)did to violate your right.
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    *Ifthere is more than one claim, describe the additional claims) on another attached piece ofpaper using the same
    outline.


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E. REQUEST FOR RELIEF

    I believe that I am entitled to the following specific relief:




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                (Date)                                                  (Signature ofPlaintiff




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CV-66(7/97)                                                                                      Page 6 of6
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